UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

ULKU ROWE,                                             No. 1:19-cv-08655 (LGS)(GWG)

                  Plaintiff,

      -against-

GOOGLE LLC,

                  Defendant.


                 DEFENDANT GOOGLE LLC’S NOTICE OF
           RENEWED MOTION TO RETAIN DOCUMENTS UNDER SEAL


       PLEASE TAKE NOTICE that, upon the accompanying Memorandum of Law, and

Declaration of Sara B. Tomezsko and accompanying exhibits, Defendant Google LLC, through

its undersigned counsel, hereby moves this Court, before the Honorable Lorna G. Schofield, at

the United States District Court, 500 Pearl Street, Room 6B, New York, New York 10007,

pursuant to the Court’s September 26, 2022 Order (ECF 220), Rule 26(c) of the Federal Rules

of Civil Procedure, and the Court’s Individual Rules and Procedures for Civil Cases, Rule I.D

for an Order permitting it to retain under seal certain documents or portions thereof submitted

in connection with the Parties Cross-Motions for Summary Judgment, filed as ECF Nos. 137,

152 and 197.

       PLEASE TAKE FURTHER NOTICE that, Plaintiff’s opposition, if any, shall be due on

November 9, 2022, and Google’s reply due November 16, 2022.




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Dated: New York, New York
       October 26, 2022     PAUL HASTINGS LLP


                            _________________________________
                            By:    Kenneth W. Gage
                                   Sara Tomezsko

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                            Attorneys for Defendant
                            GOOGLE LLC




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                                  CERTIFICATE OF SERVICE

        The undersigned hereby certifies that, on this October 26, 2022, I caused a true and exact

copy of the foregoing DEFENDANT GOOGLE LLC’S NOTICE OF RENEWED MOTION TO

RETAIN DOCUMENTS UNDER SEAL, MEMORANDUM OF LAW, the accompanying

DECLARATION OF SARA B. TOMEZSKO, and PROPOSED ORDER to be filed

electronically and served by mail on anyone unable to accept electronic filing. Notice and copies

of this filing will be sent by e-mail to all parties by operation of the Court’s electronic filing

system or by mail to anyone unable to accept electronic filing as indicated on the Notice of

Electronic Filing. Parties may access this filing through the Court’s CM/ECF System.


Dated: New York, New York
       October 26, 2022


                                                              Sara B. Tomezsko




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